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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TE)    JUL 2               I   AM 10:52
                                    AUSTIN DIVISION
                                                                     CLEtiKU,1 ,3iJi
SOURCEPROSE CORPORATION,                                             WESTE'               TEXM

              PLAINTIFF,

V.                                                   CAUSE NO. A-i i-CV-1 i7-LY

AT&T MOBILITY, LLC; METROPCS
COMMUNICATIONS, INC.; SPRINT
SPECTRUM L.P.; NEXTEL
OPERATIONS, INC.; T-MOBILE USA,
INC.; AND CELLO PARTNERSHIP,
D/B/A VERIZON WIRELESS,
                 DEFENDANTS.

GOOGLE, [NC.,
                      PLAINTIFF,                     CAUSE NO. A-i i-CV-637-LY

V.

SOURCEPROSE CORPORATION,
              DEFENDANT

                                      FINAL JUDGMENT

       Before the court is the above entitled cause of action. On July 9, 2015, the parties filed a

Stipulation for Dismissal (Doc. #209), dismissing all claims or counterclaims with prejudice raised

by SourceProse, Inc. and dismissing all claims, defenses, or counterclaims without prejudice raised

by Google Inc; AT&T Mobility LLC; MetroPCS Communications, Inc.; Sprint Spectrum L.P.; T-

Mobile USA, Inc.; Celico Partnership d/b/a Verizon Communications, Inc.; and Nextel Operations

Inc. The court has reviewed the stipulation and now approves. Accordingly, the court renders the

following Final Judgment pursuant to Federal Rule of Civil Procedure 58.
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IT IS HEREBY ORDERED that these cases are hereby CLOSED.

SIGNED this            day of July, 2015.




                               UN FED STAI .S DIS   ICT JUDGE
